Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

Case 14-50333-gs Doc 180 Entered 08/19/14 15:46:07 Page 1 of 16

ALAN R. SMITH, ESQ. #1449

HOLLY E. ESTES, ESQ. #11797

Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 August 19, 2014
Telephone (775) 786-4579

Facsimile (775) 786-3066

Email: mail@asmithlaw.com

Attorney for Debtors

ANTHONY THOMAS and WENDI

 

 

THOMAS and AT EMERALD, LLC
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—o0o0000—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases

{Jointly Administered]

DECLARATION OF ANTHONY
THOMAS IN SUPPORT OF
OPPOSITION TO MOTION TO
APPOINT CHAPTER 11 TRUSTEE

Hearing Date: August 22, 2014
Hearing Time: 2:00 p.m.

AT EMERALD, LLC,

Debtors.

/
I, ANTHONY THOMAS, declare under penalty of perjury as follows:

1. I am over the age of 18 years of age, and I am mentally competent. I am the

managing member of AT Emerald, LLC.

2. Except as otherwise indicated, all facts set forth in this declaration are based

upon my personal knowledge. If called upon to testify as to the contents of this declaration,

I could and would do so.

3. On June 19, 2014, I on behalf of AT Emerald, LLC entered into a Purchase

and Sale Agreement with the purchaser wherein the purchaser agreed to purchase the 21,000

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ALAN R. SMITH
505 Ridge Street

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carat emerald matrix (the “Emerald”) for cash, payable at close of escrow.

4. As set forth in the Motion To Sell Assets Free And Clear Of Liens And
Motion to File Purchase and Sale Agreement Under Seal [DE 83], the sale of the Emerald
is for cash, and the purchase price is sufficient to pay all creditors in this case, as well as all
creditors in the companion case of ANTHONY THOMAS and WENDI THOMAS, Case
No. BK-N-14-50333-BTB (the “Thomas Bankruptcy Case’) in full.

5. That I am familiar and have contact with David Clarke, the Finance Director
& International Trustee for the purchaser. That Mr. Clarke has informed me that he will not ©
work with a chapter 11 trustee, and that if a trustee is appointed that the purchaser will not
continue with the sale.

6. That I am the best person to sell the Emerald, as a chapter 11 trustee will not
be familiar with the buyers who would be interested in purchasing the Emerald, but I am
familiar with buyers who would be interested in purchasing the Emerald.

7. That the purchaser has approved of the sale and agrees to consummate the
sale. See letter from purchaser attached hereto as Exhibit “A”.

8. That the purchaser has provided proof of funds to consummate the sale and
its ability to perform. See letter from purchaser attached hereto as Exhibit “A”.

9. That I believe the sale will close.

10. That on July 7, 2014, I went to the Sarasota Vault with the purchaser’s
representative, David Clarke, and an appraiser for the purchaser to inspect the Emerald.
That on July 7, 2014, we inspected the Emerald, and the Emerald in its existing condition
was approved by the purchaser’s representative.

11 That I was in contact with John Beach during that visit to the vault, and that
I have kept John Beach apprised of the sale and the events surrounding the sale. See emails
sent to and received from John Beach attached hereto as Exhibit “B”.

12. That the purchaser has informed me that it does not want anyone to go to the

vault because it does not want to have to reinspect the Emerald.

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Exhibit A

[Redacted Copy]
Case 14-5033

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Attention Mr. Anthony G Thomas | | 7" August 2014
7725 Peavine Peak CT
Reno, Nevada, 89523, USA

Dear Mr. Thomas

Re:- Sale and Purchase of 21,000 Carat Thomas Emerald

| write to inform you that the Chairman has been actively involved with HSBC Hong Kong

Branch in freeing up iia the agreed purchase price to complete the sale and

purchase transaction as obligated by the participating parties.

| would like to reconfirm that the financial capability of the Company is entirely sufficient to

complete said purchase as evidenced at our meeting held in Tampa prior to the viewing

of the unique Emerald Matrix at the Sarasota Vault.
holds two accounts. at HSBC one holding a cash deposit of

besides another account holding a cash deposit of (ia

   
   

Our financial Capability was demonstrated by current Bank tear sheets and Bank
Confirmation and Responsibility Letters signed by two senior Bank Officers with their
respective pin codes.

| am at liberty to confirm these good clean and clear funds were legally earned whilst
working for various governments of the world and in addition the Company has ongoing
relationships with various International Banks, Corporations, Trusts and Governments
some of which have granted signatory rights to the Chairman for specific specialist
undertakings.

With such a large amount of money at his disposal and to avoid inappropriate actions
within the banking sector the Chairman wisely blocked the funds only to be freed up on his
written instructions to the Bank thus irrevocably unlocking good, clean and clear funds for
any transaction that | as the Company’s Financial Director authorize and he endorses.
Please be advised that as the deposits in the two accounts were legally earned through
various governments the release mechanism is somewhat different from the normal
banking procedures and this operation has to be carried out under a specific format which
is presently being undertaken with the release of the xpected at any time
| do apologize for this undue delay but assure you that will adhere to its commitment
and complete the sale and purchase transaction as soon as the release mechanism has
been completed.

 

ed

_ Yours a

Kigance Director & International Trustee
Telephone

E-mail: set _____—_]
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Exhibit B
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Roanna Bonaldi

From: Anthony Thomas <atemerald2@gmail.com>
Sent: Monday, August 18, 2014 12:24 PM

To: Holly Estes

Subject: Fwd: Sale of the Emerald

Attachments: imgQ80.jpg

wonn--=--- Forwarded message ----------

From: "Anthony Thomas" <atemerald2@gmail.com>
Date: Aug 8, 2014 5:58 AM

Subject: Sale of the Emerald

To: "John Beach" <jbeach1161@gmail.com>

Hi John, here is the letter from the buyer, they do not want you to go to the vault because they don't want to
reinspect the Emerald again.

Please get back to me ASAP. I go to work at 6 am and will be back at 6 or 7 pm. There is no cell serves at the
site so I will call you when I get in,

Regards

Tony
Case 14-50333-gs Doc180 Entered 08/19/14 15:46:07 Page 8 of 16

Roanna Bonaldi

From: Anthony Thomas <atemerald2@gmail.com>
Sent: Monday, August 18, 2014 12:40 PM

To: Holly Estes

Subject: Fwd: Re: Sale of the Emerald

w-n-=----- Forwarded message ----------

From: "John Beach" <jbeach1161@gmail.com>
Date: Aug 8, 2014 6:08 AM

Subject: Re: Sale of the Emerald

To: "Anthony Thomas" <atemerald2@gmail.com>

Tony,
Thanks for sharing the attached letter and will share with my attorney. I get get a 30 day extension.

Sent from my iPhone

> On Aug 8, 2014, at 5:58 AM, Anthony Thomas <atemerald2@gmail.com> wrote:
>

> Hi John, here is the letter from the buyer, they do not want you to go to the vault because they don't want to
reinspect the Emerald again.

> Please get back to me ASAP. I go to work at 6 am and will be back at 6 or 7 pm. There is no cell serves at the
site so J will call you when I get in,

> Regards

> Tony

> <img080 jpg>
Case 14-50333-gs Doc180 Entered 08/19/14 15:46:07

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From: Anthony Thomas <atemerald2@gmail.com>
Sent: Monday, August 18, 2014 12:40 PM

To: Holly Estes

Subject: Fwd: Re: Sale of the Emerald

weneonan-- Forwarded message ----------

From: "Anthony Thomas" <atemerald2@gmail.com>
Date: Aug 8, 2014 6:20 AM

Subject: Re: Sale of the Emerald

To: "John Beach" <jbeach1161@gmail.com>

Thank you

On Aug 8, 2014 6:08 AM, "John Beach" <jbeach1161@gmail.com> wrote:
Tony,

Page 9 of 16

Thanks for sharing the attached letter and will share with my attorney. I get get a 30 day extension.

Sent from my iPhone

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> Tony

> <img080.jpe>
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Roanna Bonaldi

From: Anthony Thomas <atemerald2@gmail.com>
Sent: Monday, August 18, 2014 12:41 PM

To: Holly Estes

Subject: Fwd: Re: Sale of the Emerald

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From: "John Beach" <jbeach1161@gmail.com>
Date: Aug 8, 2014 6:49 AM

Subject: Re: Sale of the Emerald

To: "Anthony Thomas" <atemerald2@gmail.com>
What do you need me to do ? When is the expected wired to occur
Sent from my iPhone

On Aug 8, 2014, at 6:20 AM, Anthony Thomas <atemerald2@gmail.com> wrote:
Thank you

On Aug 8, 2014 6:08 AM, "John Beach" <jbeach1161@gmail.com> wrote:
Tony,

Thanks for sharing the attached letter and will share with my attorney. I get get a 30 day
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> Regards

> Tony

> <img080.jpg>
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Roanna Bonaldi

From: Anthony Thomas <atemerald2@gmail.com> |
Sent: Monday, August 18, 2014 12:42 PM |
To: Holly Estes
Subject: Fwd: Re: Sale of the Emerald

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From: "Anthony Thomas" <atemerald2@gmail.com>
Date: Aug 8, 2014 9:52 PM

Subject: Re: Sale of the Emerald

To: "John Beach" <jbeach1161@gmail.com>

Did your attorney's contact my attorneys about the 30 day extension? I don't know when the wire is coming. I
am expecting a confirmation from HSBC in writing next week. I will keep you posted. Thank you for your
cooperation.

Regards

Tony

On Aug 8, 2014 6:49 AM, "John Beach" <jbeach1161@gmail.com> wrote:
 

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Roanna Bonaldi

From: Anthony Thomas <atemerald2@gmail.com>
Sent: Monday, August 18, 2014 12:42 PM

To: Holly Estes

Subject: Fwd: Re: Sale of the Emerald

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From: "Anthony Thomas" <atemerald2@gmail.com>
Date: Aug 10, 2014 5:28 PM
Subject: Fwd: Re: Sale of the Emerald

To: "Holly Estes" <estes@asmithlaw.com>

 

 

 

Hi Holly, John Beach gave me a 30 days extension attached is the correspondence.
Regards
Tony

waan------ Forwarded message ----------

From: "Anthony Thomas" <atemerald2@gmail.com>
Date: Aug 8, 2014 9:52 PM

Subject: Re: Sale of the Emerald

To: "John Beach" <jbeach1161@gmail.com>

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Regards

Tony

On Aug 8, 2014 6:49 AM, "John Beach" <jbeach1161@gmail.com> wrote:
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Roanna Bonaldi

From: Anthony Thomas <atemerald2@gmail.com>
Sent: Monday, August 18, 2014 12:44 PM

To: Holly Estes

Subject: Fwd: Re: Sale of the Emerald

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From: "John Beach" <jbeach1161@gmail.com>
Date: Aug 12, 2014 10:57 AM

Subject: Re: Sale of the Emerald

To: "Anthony Thomas" <atemerald2@gmail.com>

 

~ What's the latest. 777? Is the wire coming

Sent from my iPhone
On Aug 9, 2014, at 12:52 AM, Anthony Thomas <atemerald2@gmail.com> wrote:

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Case 14-50333-gs Doc180 Entered 08/19/14 15:46:07

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Sent: Monday, August 18, 2014 12:44 PM

To: Holly Estes

Subject: Fwd: Re: Sale of the Emerald

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From: "Anthony Thomas" <atemerald2@gmail.com>
Date: Aug 12, 2014 11:21 PM

Subject: Re: Sale of the Emerald

To: "John Beach" <jbeach1161@gmail.com>

Page 14 of 16

 

Knot yet, they have a meeting at the bank today.

On Aug 12, 2014 10:57 AM, "John Beach" <jbeach1161@gmail.com> wrote:
What's the latest. ???? Is the wire coming

Sent from my iPhone

On Aug 9, 2014, at 12:52 AM, Anthony Thomas <atemerald2@gmail.com> wrote:

Did your attorney's contact my attorneys about the 30 day extension? I don't know when the wire
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Tony

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Exhibit C
Case 14-50333-gs Doc 180 Entered 08/19/14 15:46:07 Page 16 of 16

Roanna Bonaldi

From: Anthony Thomas <atemerald2@gmail.com>
Sent: Monday, August 18, 2014 12:40 PM

To: Holly Estes

Subject: Fwd: Re: Sale of the Emerald

na-------- Forwarded message ----------

From: "John Beach" <jbeach1161@gmail.com>
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Subject: Re: Sale of the Emerald

To: "Anthony Thomas" <atemerald2@gmail.com>

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> Tony

> <img080.jpg>
